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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 John Scatchell, Sr., John Scatchell, Jr.       )
                                                )
               Plaintiffs,                      )                Case No.: 2018-CV-03989
                                                )
 v.                                             )                Judge Charles R. Norgle, Sr.
                                                )
 Village of Melrose Park, an Illinois Municipal )                Magistrate Judge Michael T.
 Corporation; Ronald M. Serpico; Sam Pitassi; )                  Mason
 Michael Castellan; Steven Rogowski; Board )
 Of Fire and Police Commissioners of Melrose )
 Park, Illinois,                                )
                                                )

              Defendants.
                                                                 Jury Trial Demanded


OPPOSED AMENDED PLAINTIFF’S RULE 15(a)(2) MOTION FOR LEAVE TO FILE
FIRST AMENDED COMPLAINT AND FOR LEAVE FOR CASS T. CASPER, ESQ., TO
         FILE AN ADDITIONAL APPEARANCE FOR PLAINTIFF(S)

       NOW COME, Plaintiff, JOHN SCATCHELL, SR., and putative Plaintiff, JOHN

SCATCHELL, JR., by and through one of their attorneys, Gia Scatchell, Esq., Law Offices of

Giana Scatchell, and moves this Honorable Court for leave to file a First Amended Complaint

and to add an additional Plaintiff, and for leave for Cass T. Casper to appear as additional

counsel for Plaintiff(s), for the reasons that follow:

       1.      Plaintiff Scatchell filed his initial Complaint on June 7, 2018 alleging federal

and causes of action related to constitutional deprivations for his support of protected

activity, engaging in protected activity, and opposition to unlawful conduct. See Dkt. 1.

       2.      Since the filing of the Complaint, Plaintiff’s son, John Scatchell, Jr., was fired

from his police officer position with Defendant Village of Melrose Park, Illinois, a
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termination which was effective December 7, 2018. Plaintiff and his son both aver that

such termination was pretextual and retaliatory in nature in further violation of

Plaintiff’s, and his son’s, constitutional rights.

        3.    Under Rule 15(a)(2), leave to amend should be given freely when justice so

requires. See Fed. R. Civ. P. 15(a)(2). Leave to amend is only “inappropriate where there

is undue delay, bad faith, dilatory motive on the part of the movant, repeated failure to

cure deficiencies by amendments previously allowed, undue prejudice to the opposing

party by virtue of allowance of the amendment, or futility of the amendment.” Perrian v.

O'Grady, 958 F.2d 192, 194 (7th Cir. 1992).

        4.    The proposed First Amended Complaint is attached hereto as a

Supplement, and is filed as soon as practicable after John Scatchell, Jr.’s termination.

        5.    The addition of John Scatchell, Jr. as a Plaintiff is necessary and proper in

this case because it forms part of the same nucleus of operative fact of the existing

Complaint, to wit, acts of retaliation suffered by Plaintiff, which, now, includes targeting

and termination of his son.

        6.    As noted in the First Amended Complaint, third-party reprisals are made

unlawful under Title VII, and certainly are as unlawful under 42 U.S.C. 1983 in the state

actor context, and there is a proper legal basis to join John Scatchell, Jr.’s claims in this

case.




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       7.     Adding John Scatchell, Jr. as a Plaintiff and stating his claims under 42

U.S.C. 1983 in the First Amended Complaint serves judicial economy, will avoid

duplicative lawsuits for both the Plaintiff, proposed Plaintiff, and the Defendants that

really stem from the same common nucleus of fact.

       8.     Additional claims against the individual Defendants have also been

brought to the attention of Plaintiff, and, therefore, he seeks leave to add additional

claims, all of which are timely brought.

       9.     In addition, there has been no undue delay, bad faith, or dilatory motive by

Plaintiffs. This case is currently still in the pleading stage with Defendants having just

filed Answers to the Complaint on November 21, 2018. See Dkt. Nos. 14 – 16.

       10.    Consequently, the Court should grant Plaintiff leave to file the proposed

First Amended Complaint.

       11.    Finally, Cass T. Casper, Esq., is a member in good standing of this Court’s

General and Trial Bars, is a licensed attorney in Illinois, and has been retained as

additional counsel for Plaintiff(s). He seeks leave to file his additional appearance under

Local Rule 83.17 and his proposed appearance is attached hereto as a Supplement.

       WHEREFORE, for the above stated reasons, Plaintiff SCATCHELL, respectfully

requests that this Court enter an order granting leave to file the attached First Amended

Complaint and for such other relief that the Court deems just.


                                                 Respectfully submitted,

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                                        JOHN SCATCHELL, SR.
                                        JOHN SCATCHELL, JR.

                                                         By: /s/ Gianna R. Scatchell

                                                                Gianna R. Scatchell


                                          Gianna R. Scatchell ARDC No. 6300771
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                                                      Respectfully submitted,


                                                              By: /s/ Cass T. Casper

                                                                     Cass T. Casper

                                              Cass T. Casper, ARDC No. 6303022
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                               CERTIFICATE OF SERVICE

   The undersigned, an attorney, hereby certifies that the foregoing document and all attachments
and supplements thereto were served upon counsel for Defendants noted below via this Court’s
CM/ECF filing system, and that such counsels are registered e-filers.

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                                             s/Gianna Scatchell

                                            Electronically filed on January 29, 2019




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